                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. 14-CR-120-LRR
 vs.                                     ORDER REGARDING
                                    MAGISTRATE’S REPORT AND
 ROBERT ALLEN HOPKINS,                   RECOMMENDATION
                                     CONCERNING DEFENDANT’S
          Defendant.                        GUILTY PLEA
                       ____________________

                      I. INTRODUCTION AND BACKGROUND
       On October 30, 2014, a two-count Indictment was filed against the defendant,
Robert Allen Hopkins. On January 7, 2015, the defendant appeared before United States
Chief Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the
Indictment. On January 7, 2015, Judge Scoles filed a Report and Recommendation in
which he recommended that the court accept the defendant’s guilty plea. On January 7,
2015, the defendant filed a Waiver of Objections to Report and Recommendation. The
court, therefore, undertakes the necessary review of Judge Scoles’s recommendation to
accept the defendant’s plea in this case.
                                   II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


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review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge must determine de novo any part of the
              magistrate judge's disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended disposition; receive further evidence; or return
              the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
January 7, 2015, and ACCEPTS the defendant’s plea of guilty to Count 1 of the
Indictment.
      IT IS SO ORDERED.
      DATED this 7th day of January, 2015.




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